                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

PATRICK DEMPSEY and ,               :
KAREN DEMPSEY
            Plaintiffs              :    CIVIL ACTION NO. 3:23-50
                                            (JUDGE MANNION)
          v.                        :

LINCOLN BENEFIT LIFE                :
COMPANY
            Defendant               :

                                 ORDER

    1.    This case is referred to court-annexed mediation in accordance
          with Standing Order 04-3, In Re Authorizing Systematic
          Random Mandatory Mediation Referrals in Certain Case
          Types, (July 26, 2004).

    2.    The following individual is appointed to serve as the mediation
          in this action:

               Daniel E. Cummins, Esquire
               Foley, Comerford and Cummins
               507 Linden Street, Suite 700
               Scranton, PA 18503
               570-346-0745
               dancummins@cumminslaw.net
               anne@cumminslaw.net

     3.   The mediation conference shall be scheduled by the mediator
          after conferring with counsel and take place within the
          reasonably foreseeable future as agreed upon by the mediator
          and counsel.

    4.    The mediation conference shall be conducted in accordance
          with M.D. Pa. Local Rule 16.8.6.
       5.    The mediator’s preparation time and the first six hours of
             mediation services shall be provided pro bono. After six hours
             of mediation, the parties and the mediator shall agree to one of
             the options listed in M.D. Pa. Local Rule 16.8.3.

       6.    Since the mediators have access, free of charge, to documents
             in the cases they have been appointed to mediate, the mediator
             may select whatever documents he feel are necessary to assist
             in the mediation, from the CM/ECF docket.

       7.    The mediator shall file the attached report at the conclusion of
             the mediation.

       8.    Counsel are advised that their clients or client representatives
             with complete authority to negotiate and consummate a
             settlement shall be in attendance at the mediation conference.
             The purpose of this requirement is to have in attendance a
             representative who has both the authority to exercise his or her
             own discretion and the realistic freedom to exercise such
             discretion without negative consequences, in order to settle a
             case during the mediation conference, if appropriate, without
             consulting someone else who is not present.

       9.    Counsel appearing for the mediation conference without their
             client representatives authorized as described above, may, in
             the discretion of the mediator, cause the mediation to be
             canceled or rescheduled. The non-complying party/attorney or
             both may be assessed the costs or expenses incurred by other
             parties as a result of such cancellation or rescheduling, as well
             as any additional sanctions deemed appropriate by the court.
             Counsel are responsible for timely advising any involved non-
             party insurance company of the requirements of the order.

                                           s/ Malachy E. Mannion
                                           MALACHY E. MANNION
                                           United States District Judge
Dated: February 24, 2023
22-0050-03
                        UNITED STATES DISTRICT COURT
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             v.                      :

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                            MEDIATION REPORT

        In accordance with the Court's Mediation Order, a mediation

conference was held                           and the results of that

conference are indicated below:

             _____ The case has been completely settled.

             _____ No settlement reached.

             _____ The parties have reached an impasse. The parties

        and the mediator agree that a future mediation conference(s)

        may be beneficial and will engage in additional discussions, if

        appropriate.

                                             ______________________
                                             Signature of Mediator

Date:
